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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                    JACKSONVILLE DIVISION

   UNITED STATES OF AMERICA,


   vs.                                                          CASE NO. 3:94-cr-10(S1)-J-21

   BRUCE MOYE,

   ____________________________________/

                                                ORDER

           Before the Court is the Defendant’s Motion to Dismiss for Want of Jurisdiction Pursuant to Fed.

   R. Civ. Proc. 12(b) and 18 U.S.C. §3742 (Dkt. 726). The Court sees no basis for dismissal for want of

   jurisdiction under Rule 12(b)(1), Federal Rules of Civil Procedure, or to review the Defendant’s

   sentence pursuant to 18 U.S.C. §3742(a). Accordingly, the Defendant’s Motion to Dismiss (Dkt. 726)

   is DENIED.

           DONE AND ORDERED in Chambers at Jacksonville, Florida this 28th day of June, 2005.




   Copies to:     Counsel of Record
                  Defendant
